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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

DEANA VONDRISKA. et al..

Plaintiffs,
V. CASE No. 8:07-CV-1322-T-24TGW
GERALD CUGNO, et al..

Defendants.

 

SUPPLEMENT TO
REPORT AND RECOMMENDATION

In this case, I previously concluded that Paychex Business
Solutions, Inc. (‘PBS’) was not the plaintiffs’ employer under the Fair Labor
Standards Act (“FLSA”) (Doc. 154). After the district court adopted that
conclusion (Doc. 161). the court of appeals reversed on the ground that
depositions of corporate officers should have been considered in reaching that
determination (Doc. 184). Having considered their entire depositions. as well
as an affidavit from one of them, | am unpersuaded that my original
conclusion was wrong. Nevertheless. in light of differing views and the
upcoming trial date, it seems to me the most prudent course is to deny both

motions for summary judgment and proceed to trial.
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The plaintiffs’ employer was Premier Mortgage Funding, Inc.
(“Premier”). Premier went into bankruptcy and the plaintiffs sued PBS,
which is an employee leasing company, alleging that it was a joint employer.
The plaintiffs’ claim that PBS was an employer under the FLSA was

evaluated under the eight-factor test set out in Antenor v. D&S Farms, 88

 

F.3d 925, 932 (11" Cir. 1992). In my view. PBS was not the plaintiffs’
employer under that analysis (see Doc. 154, pp. 11-36). That conclusion,
furthermore, was supported by several district court decisions in this circuit
involving employee leasing companies (id., p. 14). One of those decisions
was affirmed by the Eleventh Circuit, and two involved PBS (one of which
was decided by Judge Presnell) (id.).

In connection with the motions for summary judgment, the
plaintiffs cited portions of depositions given by Gerald Cugno, Premier’s
CEO. and Jeremy Lube, Premier’s Director of Operations (see Docs. 98, 99).
PBS objected to the use of those depositions because PBS was not a party to
them and, thus, they did not satisfy the requirements of Rule 32(a), F.R.Civ.P.
(Doc. 109). I sustained the objection and thus did not consider the

depositions in connection with the Antenor analysis (Doc. 154, pp. 44-47).

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The plaintiffs filed objections to my report and recommendation
with District Judge Susan C. Bucklew (Doc. 156). In those objections, the
plaintiffs argued for the first time that the depositions should have been
considered as affidavits under Rule 56, F.R.Civ.P. Putting aside the fact that
the argument had not been raised before me, Judge Bucklew declined to treat
depositions that did not comply with Rule 32(a) as affidavits (Doc. 161).

On appeal, the court of appeals held that the Cugno and Lube
depositions should have been considered as affidavits under Rule 56 (Doc.
184). Accordingly, it vacated the judgment in favor of PBS and remanded for
further proceedings. The opinion did not address the issue of whether PBS
was an employer of the plaintiffs.

On remand, Judge Bucklew entered an Order stating that the
depositions created a factual dispute whether PBS was an employer of the
plaintiffs (Doc. 201). However. on plaintiffs’ motion, Judge Bucklew recused
herself (Doc. 229), and the case was reassigned to District Judge Steven D.
Merryday. Judge Merryday subsequently vacated the Order denying the
cross-motions for summary judgment concerning whether PBS was an

employer, and referred the matter to me for a supplemental report and
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recommendation (Doc. 232). Thereafter, | permitted the parties to submit
additional memoranda (Doc. 234).
Il.

The issue at this point, it seems to me, is whether, considering
the Cugno and Lube depositions as affidavits under Rule 56, the Antenor
analysis results in a different conclusion. Rule 56(c)(4), F.R.Civ.P., provides
that “{aJn affidavit or declaration used to support or oppose a motion must be
made on personal knowledge, set out facts that would be admissible in
evidence, and show that the affidavit or declarant is competent to testify on

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the matters stated.”’ I have read the entire Cugno and Lube depositions

(Docs. 194-1, 194-2), not just the short excerpts attached by the plaintiffs to
their motion for partial summary judgment (see Docs. 99-11, 99-20), and ] am
unpersuaded that they contain evidence based on personal knowledge that
would change the result in the Antenor analysis.

Significantly, Premier employed a business model that made

the plaintiffs’ employment conditions remote from Cugno’s and Lube’s

 

*The requirements were set forth in Rule 56(e)(1) prior to December 1. 2010. There
is no meaningful difference in the two versions.

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activities at company headquarters in Clearwater, Florida. As Cugno
explained in an (actual) affidavit, Premier (Doc. 129-1. 41):

has a decentralized nature with over 500
individual branch office locations, in 42 states,
with over 5000 employees, whereby these
branch office locations were controlled by a
branch manager who paid the corporate office a
flat or set monthly fee of approximately
$1,650.00 and pays no percentage to the
corporation.

Cugno added (id., {[2):

Premier's business model is similar to a
franchise relationship and once approved, a
branch manager controls the operations of the
branch office location and is responsible for
hiring as many employees as they wish and
keeps all profits (after expenses are paid) and
this agreement is memorialized in a branch
manager employment agreement the branch
manager executes with Premier.

He said further that he (id., 93):

had no involvement with the hiring of
employees, the determination of the number of
employees in the branch office, the termination
of branch employees or the determination of
compensation to be paid to the branch

employees as this was left to the branch
manager.
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Lube commented that the branch managers “are under the control of the
company with certain autonomy” (Doc. 194-1, p. 5).’ Notably, plaintiff
Vondriska worked as a loan officer in Premier's Middleburg Heights,
Ohio. office from January 2005 until May 2005, and plaintiff Andrews
worked as a loan officer in the Indianapolis, Indiana, branch from the Fall
of 2004 until August 2005 (Doc. 154, p. 2).

These circumstances provide the context for a determination
whether Cugno and Lube had personal knowledge of the matters about
which they testified. Unquestionably, they had personal knowledge about
some of the information they stated. However, the question is whether
they have personal knowledge about matters that were not already
addressed in the report and recommendation and that would make a
difference in the Antenor assessment. For the most part, what Cugno and
Lube said in their depositions was covered in the detailed assessment of the
Antenor factors in the report and recommendation (see id., pp. 15-36).

The one matter that Cugno’s deposition could affect is the

plaintiffs’ contention that PBS was involved in deciding whether an

 

“The citations to the depositions refer to the page numbers assigned by the CM/ECF
system.

 
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employee was classified as exempt or non-exempt under the FLSA. PBS
provided evidence that it did not decide loan officers’ exemption status
(id., pp. 29-30). I concluded further that the plaintiffs had presented no
probative evidence that PBS determined that classification (id., p. 29).
Cugno stated in his deposition that sometimes branch
managers would classify, and sometimes PBS or its predecessor, Gevity,
would classify, employees as exempt or non-exempt (Doc. 194-2, p. 18).
On the other hand, Cugno also said that he had instructed the branch
managers to classify loan officers as outside sales employees or non-

exempt employees (id., p. 28; see also

 

id., p. 30). He said further that he
had a policy that there was not to be any overtime work (id., p. 31). In
short, it is unclear from Cugno’s testimony whether PBS classified loan
officers as non-exempt under the FLSA. Lube stated, however, that the
branch managers made that decision (Doc. 194-1, pp. 9-10).

It is doubtful whether either Cugno or Lube had personal
knowledge of the classification process. To start with, Cugno’s statement
about that matter was uncertain and equivocal. Moreover, Cugno indicated
that his business was so extensive that he could not personally know what

goes on in every branch office, but that he was informed by staff members

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who traveled to the branches (Doc. 194-2, pp. 8-9). Cugno did say that he
and the others took a bus tour to check on 30 to 40 branches in 2004 (id.,
p. 34). Not only was that before PBS had an agreement with Premier, but
it indicates that Cugno’s team checked to see that the branch managers
classified employees properly (id.).

Thus, the information in Cugno’s and Lube’s depositions does
not change my conclusion that the plaintiffs did not present probative
evidence that PBS determined employees FLSA classifications. Rule 56,
F.R. Civ.P.. requires that affidavits be based on personal knowledge, and
it does not appear that either Cugno or Lube had personal knowledge of the
classification process. Importantly, Rule 56 requires further that the
affidavit show that the affiant or declarant is competent to testify about the
matters stated. See Security Ins. Co. of Hartford v. Old Dominion Freight
Line. Inc., 391 F.3d 77, 85 (2™ Cir. 2004). The depositions, which are
being treated as affidavits, plainly do not satisfy this latter requirement
with respect to the matter of classification.

The plaintiffs in their supplemental memorandum point out
that Cugno testified that PBS employees were witnesses to terminations

(Doc. 194-2, pp. 16-17). The fact that PBS employees may be witnesses

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to terminations by Premier does not change my conclusion that, in actual
practice. the plaintiffs have failed to show that PBS exercised the right to
fire Premier employees (Doc. 154, p. 25).

In sum, the information in the Cugno and Lube depositions
does not change my analysis of the Antenor factors. Consequently, my
conclusion that the plaintiffs were not economically dependent on PBS,
and therefore were not PBS employees, remains the same.

Ul.

While I continue to think that PBS was not the plaintiffs’
employer, I do not recommend that summary judgment be granted to PBS.
I recognize that there are other judicial decisions indicating that the
depositions contain information based upon personal knowledge that create
issues of fact (although without any detailed analysis of the Antenor
factors). In light of that circumstance, | am not sufficiently confident of
my conclusion to recommend the granting of summary judgment.

Moreover, the trial date is less than two months away and the
case would shortly thereafter be four years old. In addition, in light of the
court's lack of prior familiarity with the summary judgment record, it

would require an extensive amount of time to review a recommendation

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that summary judgment be granted. It seems to me that the court could try
the case in less time, and with a better understanding of the evidence, than
if the court evaluated a summary judgment recommendation.

Notably, the court has discretion to deny a motion for
summary judgment and to proceed to trial even if a summary judgment
award seems authorized. See 1O0A Wright, Miller & Kane, Federal Practice
and Procedure: Civil 3d §2728, pp. 525-31. Under the circumstances
presented here, the exercise of that discretion is warranted.

Therefore, 1 recommend that Defendant Paychex Business
Solutions. Inc.’s Motion for Summary Judgment (Doc. 96), and the
Plaintiffs’ Motion for Partial Summary Judgment Against Defendant
Paychex Business Solutions, Inc. (Doc. 99) be denied.

Respectfully submitted,

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THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

 

DATED: MARCH 7 , 2011

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NOTICE TO PARTIES

Failure to file written objections to the proposed findings and

recommendations contained in this report within fourteen days from the

date of its service shall bar an aggrieved party from attacking the factual

findings on appeal. 28 U.S.C. 636(b)(1).

 
